Case
Case Number:              2020-04323
Commencement Date:        3/5/2020
Case Type:                Summons Civil Action
PFA Number:
Caption Plaintiff:        CUNNINGHAM, GLENN INDIVIDUALLY AND AS ADMIN OF THE ESTATE OF PATRICIA L CUNNINGHAM
Caption Defendant:        CVS HEALTH
Lis Pendens Indicator:    No
Status:                   6 - CLOSED
Judge:                    SALTZ
Remarks:
Sealed:                   No
Interpreter Needed:

Plaintiff
Name                                                                          Address             Country
                                                                                                        Counsel   Notify Sequence
                                                                                                        HOOVER,
                                                                              1141 SNYDER ROAD          MATTHEW
CUNNINGHAM, GLENN INDIVIDUALLY AND AS ADMIN OF THE ESTATE OF                  B-11               UNITED KSIAZEK,  Yes 1
PATRICIA L CUNNINGHAM (ESTATE OF PATRICIA L CUNNINGHAM)                       LANSDALE, PA 19446 STATES MICHAEL C
                                                                              UNITED STATES             KRAWITZ,
                                                                                                        JEFFREY A

Defendant
Name                                                     Address                        Country    Counsel          Notify Sequence
                                                                                                   TOMLINSON, A
                                                         ONE CVS DRIVE
CVS HEALTH                                               WOONSOCKET, RI 02895 UNITED    UNITED     BRYAN            Yes   1
                                                                                        STATES     ROMANOWICZ,
                                                         STATES
                                                                                                   AMALIA V
                                                                                                   TOMLINSON, A
                                                         ONE CVS DRIVE
CVS PHARMACY INC                                         WOONSOCKET, RI 02895 UNITED    UNITED     BRYAN            Yes   2
                                                                                        STATES     ROMANOWICZ,
                                                         STATES
                                                                                                   AMALIA V
                                                         840 VALLEY FORGE ROAD
PENNSYLVANIA CVS PHARMACY LLC (CVS                                                      UNITED     TOMLINSON, A
PHARMACY #1379)                                          LANSDALE, PA 19446 UNITED      STATES     BRYAN            Yes   3
                                                         STATES
                                                         2333 WELSH ROAD
PENNSYLVANIA CVS PHARMACY LLC (CVS                       LANSDALE, PA 19446 UNITED      UNITED     TOMLINSON, A     Yes   4
PHARMACY #338)                                                                          STATES     BRYAN
                                                         STATES
                                                         548 DOYLESTOWN ROAD
PENNSYLVANIA CVS PHARMACY LLC (CVS                                                      UNITED     TOMLINSON, A
                                                         LANSDALE, PA 19446 UNITED                                  Yes   5
PHARMACY #987)                                           STATES                         STATES     BRYAN

Docket Entry
            Filing
Seq.        Date     Docket Type           Docket Text                                                              Sealed Filing ID

       E 3/5/2020 Summons
                               Civil
0                                                                                                                   No        12700071
                   Action
1      E 3/11/2020 Affidavit/Certificate   WRIT OF SUMMONS ON 03/09/2020 TO CVS HEALTH AND CVS PHARMACY INC         No        12707541
                   of Service of
       E 3/27/2020 Entry
                          of               OF A. BRYAN TOMLINSON FOR DEFENDANTS, CVS HEALTH AND CVS PHARMACY,
2                                                                                                                   No        12719607
                   Appearance              INC.
       E 3/27/2020 Entry
                          of
3                  Appearance              OF AMALIA V. ROMANOWICZ FOR CVS HEALTH AND CVS PHARMACY, INC.            No        12719632

4      E 3/27/2020 Affidavit/Certificate   ENTRY OF APPEARANCE ON 03/27/2020 TO MATTHEW E. HOOVER, ESQUIRE          No        12719634
                   of Service of
       E 3/27/2020 Demand
                             for Jury
5                  Trial by                CVS HEALTH; CVS PHARMACY INC                                             No        12719651

6      E 3/27/2020 Affidavit/Certificate   DEMAND FOR JURY TRIAL ON 03/27/2020 TO MATTHEW E. HOOVER, ESQUIRE        No        12719652
                   of Service of
       E 3/27/2020 Praec
                          to Enter         GLENN CUNNINGHAM INDIVIDUALLY AND AS ADMIN OF THE ESTATE OF PATRICIA L
7                                                                                                                   No        12719755
                   Rule Upon               CUNNINGHAM TO FILE A COMPLAINT
8      E 3/27/2020 Affidavit/Certificate   RULE TO FILE COMPLAINT ON 03/27/2020 TO MATTHEW E. HOOVER, ESQUIRE       No        12719761
                   of Service of
                                         WRIT OF SUMMONS ON 3/20/2020 TO PENNSYLVANIA CVS PHARMACY, LLC,
       E 3/31/2020 Affidavit/Certificate
                                         INDIVIDUALLY AND D/B/A CVS PHARMACY #338; PENNSYLVANIA CVS PHARMACY,
9                  of Service of         LLC, INDIVIDUALLY AND D/B/A CVS PHARMACY #987;PENNSYLVANIA CVS             No        12721204
                                         PHARMACY, LLC, INDIVIDUALLY AND D/B/A CVS PHARMACY #1379
                   Entry of              OF A. BRYAN TOMLINSON FOR PENNSYLVANIA CVS PHARMACY LLC D/B/A CVS
10   E 4/15/2020 Appearance              PHARMACY #1379, CVS PHARMACY #338, AND CVS PHARMACY #987              No    12728294
11   E 4/15/2020 Affidavit/Certificate   ENTRY OF APPEARANCE ON 04/15/2020 TO MATTHEW E. HOOVER, ESQUIRE       No    12728349
                 of Service of
                 Entry of
12   E 4/15/2020                         OF AMALIA V. ROMANOWICZ FOR PENNSYLVANIA CVS PHARMACY L.L.C.          No    12728348
                 Appearance
13   E 5/22/2020 Complaint In                                                                                  No    12745164
                 Entry of
14   E 5/22/2020                         OF MICHAEL KSIAZEK FOR PLAINTIFFS                                     No    12745180
                 Appearance
                 Affidavit/Certificate
15   E 5/22/2020                         ENTRY OF APPEARANCE ON 05/22/2020 TO COUNSEL                          No    12745184
                 of Service of
                                       AS TO PENNSYLVANIA CVS PHARMACY, INDIVIDUALLY AND D/B/A CVS PHARMACY #
16   E 5/22/2020 Certificate of Merit                                                                           No   12745286
                                       338, CVS PHARMACY #987 AND CVS PHARMACY #1379
                                       CERTIFICATE OF MERIT OF PENNSYLVANIA CVS PHARMACY INDIVIDUALLY AND D/B/A
                 Affidavit/Certificate
17   E 5/22/2020                       CVS PHARMACY #338, CVS PHARMACY #987 AND CVS PHARMACY 1379 ON            No   12745294
                 of Service of
                                       05/22/2020 TO COUNSEL
18   E 5/22/2020 Certificate of Merit AS TO CVS HEALTH                                                          No   12745297
                 Affidavit/Certificate
19   E 5/22/2020                       CERTIFICATE OF MERIT CVS HEALTH ON 05/22/2020 TO COUNSEL                 No   12745301
                 of Service of
                 Affidavit/Certificate
20   E 5/22/2020 of Service of         CVS PHARMACY INC ON 05/22/2020 TO COUNSEL                                No   12745343
21   E 5/22/2020 Certificate of Merit AS TO CVS PHARMACY INC                                                    No   12745340
                 Entry  of
22   E 5/22/2020 Appearance            OF JEFFREY A. KRAWITZ FOR PLAINTIFFS                                     No   12745409

23   E 5/22/2020 Affidavit/Certificate ENTRY OF APPEARANCE ON 05/22/2020 TO COUNSEL                             No   12745412
                 of Service of
24   E 5/29/2020 Notice of Removal                                                                              No   12748563
25   E 5/29/2020 Affidavit/Certificate PRAECIPE FOR REMOVAL ON 05/29/2020 TO PLAINTIFF'S COUNSEL                No   12748575
                 of Service of
26     6/11/2020 (Internal Use         PENNSYLVANIA CVS PHARMACY LLC ON 6/8/20                                  No   12757627
                 Only) Served
27     6/11/2020 (Internal Use
                 Only) Served          PENNSYLVANIA CVS PHARMACY LLC DBA ON 6/8/20                              No   12757628
                 (Internal Use
28     6/18/2020 Only) Served          PENNSYLVANIA CVS PHARMACY LLC D/B/A CVS #338 ON 6/11/20                  No   12767838

29     6/18/2020 (Internal Use         PENNSYLVANIA CVS PHARMACY LLC ON 6/11/20                                 No   12767839
                 Only) Served
30     6/22/2020 (Internal Use         PENNSYLVANIA CVS PHARMACY LLC ON 6/10/20                                 No   12769713
                 Only) Served
31     6/22/2020 (Internal Use
                 Only) Served          PENNSYLVANIA CVS PHARMACY LLC ON 6/10/20                                 No   12769724
                 Papers forwarded UNITED STATES DISTRICT COURT FOR EASTERN DISTRICT OF PA
32     7/6/2020 to                     70180680000171620517                                                     No   12781907
